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                         UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION

IN RE:                                                 CASE: 20-24404
CHRISTOPHER PROCTOR                                    CHAPTER 13


Debtor
                                                       Hon. JOEL T. MARKER

              TRUSTEE'S CONTINUING OBJECTION TO CONFIRMATION


         The Standing Chapter 13 Trustee, hereby objects to confirmation based on the following
unresolved issues:
   1. Schedule A/B fails to fully disclose and value the following property of the estate: the
True Link pre-paid account.

   2. The Trustee has received returned mail from the Debtor(s). The Trustee requests the
Debtor(s) review the address is on file with the Court and if appropriate, file a change of address.

   Restatement of Issues from Prior Objection(s):

   1. The Trustee requests the Debtor file an affidavit of no filing requirement for 2019.
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    2. The Trustee requests an update at Confirmation regarding whether the Debtor is paying
rent and updated budget.




            THEREFORE, the Trustee has an ongoing objection to the confirmation.

Dated: November 3, 2020                              LAJ /S/
                                                     LON A. JENKINS
                                                     CHAPTER 13 TRUSTEE


                                   CERTIFICATE OF SERVICE

    The undersigned hereby certifies that a true and correct copy of the foregoing Continuing Objection
to Confirmation was served upon all persons entitled to receive notice in this case via ECF Notification
or by U.S. Mail to the following parties on November 03, 2020:


JUSTIN O. BURTON, ECF Notification
                                                          /s/ Sherrin Warner
